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                   UNITED STATES DISTRICT COURT
                    DISTRICT OF MASSACHUSETTS
                 CRIMINAL ACTION NO. 14-10363-RGS

                     UNITED STATES OF AMERICA
                                    v.
                              KATHY S. CHIN,
                           MICHELLE L. THOMAS

                   MEMORANDUM AND ORDER ON
                 DEFENDANTS’ MOTIONS TO DISMISS

                              October 4, 2016
STEARNS, D.J.

     Before the court are motions filed on behalf of defendants Kathy S.

Chin and Michelle L. Thomas seeking dismissal of the indictment insofar as

it alleges criminal conduct on their part. For reasons to be explained, the

motions will be allowed.

     On December 16, 2014, the Grand Jury returned a wide-ranging 73-

page, 145-paragraph indictment alleging an assortment of crimes against

fourteen defendants who are alleged to have been involved in the ownership,

management, and/or operations of the now defunct New England

Compounding Pharmacy, Inc. (NECC). Allegedly as the result of being

administered contaminated doses of non-sterile methylprednisolone acetate

(MDA) compounded by NECC, twenty-five patients died, and hundreds of
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others suffered grave injuries.      Kathy Chin and Michelle Thomas are

described in paragraphs 13 and 14 of the indictment as Massachusetts-

licensed pharmacists who “worked in the packing area checking orders prior

to shipment to NECC’s customers” – in Ms. Chin’s case from November of

2010 until October of 2012; in Ms. Thomas’s case from March of 2012 until

August of 2012.1

     The indictment is set out in six conceptually distinct chapters. The

first, which encompasses Counts 1 and 2, is framed on the Racketeer

Influenced and Corrupt Organizations Act (RICO), 18 U.S.C. § 1961, and

specifies 78 RICO racketeering acts, 25 of which allege second-degree

murder. Chapter II (Count 3) charges a “Klein” conspiracy to defraud

(mislead) the United States, or more precisely, the U.S. Food and Drug


     1  These defendants’ names next appear in paragraph 119 of the
indictment in which Ms. Chin is charged with four counts of unlawful
dispensing and Ms. Thomas with two counts of unlawful dispensing. The ten
other defendants who remain to be tried are: Barry Cadden, a licensed
pharmacist and NECC’s President; Glenn Chinn, also a licensed pharmacist,
who oversaw NECC’s “Clean Rooms”; Gene Svirskiy, Christopher Leary, and
Joseph Evanovsky, licensed pharmacists who worked at various jobs in the
Clean Rooms; Alla Stepanets, a pharmacist who held several positions at
NECC, including working in the packing area; Sharon Carter, who served as
NECC’s Director of Operations; Scott Connolly, a former pharmacist who
worked as a pharmacy technician; Gregory Conigliaro, NECC’s regulatory
compliance officer; and Robert Ronzio, NECC’s national sales director. Carla
Conigliaro and Douglas Conigliaro, shareholders in NECC, were charged in
the same indictment with offenses unrelated to the operations of NECC.

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Administration (FDA), pursuant to 18 U.S.C. § 371. Chapter III (Counts 4-

56) re-alleges a number of the racketeering acts under the generic Mail Fraud

Statute, 18 U.S.C. § 1341. Chapter IV (Counts 57-94) charges five defendants

(Cadden, Glenn Chin, Svirskiy, Leary, and Evanovsky) with introducing

adulterated or misbranded drugs into interstate commerce, in violation of

the Federal Food, Drug, and Cosmetic Act (FFDCA), 21 U.S.C. § 331(a). In

Chapter V (Counts 95-109), Ms. Chin and Ms. Thomas are charged with

dispensing drugs (betamethasone and, in one instance, triamcinolone) in

interstate commerce without a valid prescription, in violation of the FFDCA

– Ms. Chin is charged in four such instances of dispensing (Counts 104-107);

Ms. Thomas in two (Counts 108-109). Finally in Chapter VI (since closed),

Carla Conigliaro and Douglas Conigliaro were charged with criminal

contempt of a Bankruptcy Court order, 18 U.S.C. § 401(3), and the unlawful

structuring of banking withdrawals, 31 U.S.C. § 5324 (Counts 110-131).

      The interplay of the laws under which Ms. Chin and Ms. Thomas are

indicted is complex, but their structure and wording is necessary to an

understanding of this decision. Title 21 of the United States Code, Section

331(a), prohibits the introduction or causing the introduction into interstate

commerce of a drug that is adulterated or misbranded. Section 353(b)(1)

defines a drug capable of being misbranded as


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          (1) A drug intended for use by man which—

       (A) because of its toxicity or other potentiality for harmful effect, or
 the method of its use, or the collateral measures necessary to its use, is not
 safe for use except under the supervision of a practitioner licensed by law
 to administer such drug; or

      (B) is limited by an approved application under section 355 of this title
to use under the professional supervision of a practitioner licensed by law to
administer such drug;

            shall be dispensed only (i) upon a written prescription of
            a practitioner licensed by law to administer such drug, or
            (ii) upon an oral prescription of such practitioner which is
            reduced promptly to writing and filed by the pharmacist,
            or (iii) by refilling any such written or oral prescription if
            such refilling is authorized by the prescriber either in the
            original prescription or by oral order which is reduced
            promptly to writing and filed by the pharmacist. The act
            of dispensing a drug contrary to the provisions of this
            paragraph shall be deemed to be an act which results in
            the drug being misbranded while held for sale.

Section 333(a)(2), under which Ms. Chin and Ms. Thomas are charged, sets

out the penalties for a violation and introduces the element of wrongful

intent.

      (a) Violation of section 331 of this title; second
      violation; intent to defraud or mislead
         ...

            (2) Notwithstanding the provisions of paragraph (1) of
            this section, if any person commits such a violation after
            a conviction of him under this section has become final,
            or commits such a violation with the intent to defraud or
            mislead, such person shall be imprisoned for not more
            than three years or fined not more than $10,000, or both.


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Reduced to its essence, misbranding (as charged) means the dispensing of a

toxic drug in interstate commerce without a (valid) prescription and with the

specific intent to defraud and mislead the United States government by

concealing or failing to disclose that no valid prescription had been issued.

United States v. Arlen, 947 F.2d 139, 143 (5th Cir. 1991) (citing cases on the

element of a specific intent to defraud).

      In addressing a challenge to the sufficiency of an indictment, a court

must determine whether the indictment “contains the elements of the

offense charged and fairly informs a defendant of the charge against which

he must defend, and . . . enables him to plead an acquittal or conviction in

bar of future prosecutions for the same offense.” Hamling v. United States,

418 U.S. 87, 117 (1974); see also United States v. Stewart, 744 F.3d 17, 21 (1st

Cir. 2014) (a challenge to the sufficiency of an indictment is not an

opportunity to determine the sufficiency of the evidence, but rather the court

will assume the truth of the indictment’s factual allegations); United States

v. Guerrier, 669 F.3d 1, 3-4 (1st Cir. 2011) (same). Typically, an indictment

need only set out the charge in the words of the statute itself, so long as it

does so unambiguously and provides facts “specific enough to apprise the

defendant of the nature of the accusation against him and to inform the court




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of the facts alleged.” United States v. Serino, 835 F.2d 924, 929 (1st Cir.

1987).

     The exact charging language of the indictment reads as follows.

           110. From in or around December 2009 through in or
     around March 2012, within the District of Massachusetts and
     elsewhere, [Kathy Chin and Michelle Thomas], along with others
     known and unknown to the Grand Jury, with the intent to
     defraud and mislead, caused to be dispensed the drugs set forth
     below contrary to the provisions or Title 21, United States Code,
     Section 353(b)(1), in that [Kathy Chin and Michelle Thomas]
     caused the drugs to be introduced and delivered into interstate
     commerce without the valid prescription of a practitioner
     licensed by law to administer the drugs, and the act resulted in
     the drugs being misbranded, each instance being a separate
     count in the indictment . . . . 2
     The allegations of the indictment as they relate to Ms. Chin and Ms.

Thomas are sparse.

           13. The defendant [Kathy Chin] was an individual residing
     in Canton, Massachusetts. Kathy Chin was a pharmacist licensed
     in the commonwealth of Massachusetts by the [Massachusetts
     Board of Registration in Pharmacy] to dispense drugs pursuant
     to a valid prescription from a medical practitioner. From in or
     about November 2010 until October 2012, Kathy Chin was

     2 It is true, as defendants argue, that the statute does not use the term

“valid” prescription, but rather “written prescription.” Since the drugs that
Ms. Chin and Ms. Thomas shipped were described in written prescriptions
issued in the names of legitimate doctors, it follows, or so defendants
contend, that “they [c]ould not have violated the statute by filling a
prescription they received from a licensed practitioner.” Defs.’ Mem. at 6
(Dkt #359). The argument is something of a damp squib. The term
prescription is a medical term that describes an instruction written by, or
written down from, a medical practitioner who is authorizing a patient to
receive a specific medicine or treatment. The term implicitly incorporates
the concept of validity.
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      employed as a pharmacist at NECC. Kathy Chin worked in the
      packing area checking orders prior to shipment to NECC’s
      customers.
            14. The defendant [Michelle Thomas] was an individual
      residing in Framingham, Massachusetts.         Thomas was a
      pharmacist licensed in the commonwealth of Massachusetts by
      the [Massachusetts Board of Registration in Pharmacy] to
      dispense drugs pursuant to a valid prescription from a medical
      practitioner. From in or about March 2012 until August 2012,
      Thomas was employed as a pharmacist at NECC. Thomas
      worked in the packing area checking orders prior to shipment to
      NECC’s customers.
      The only additional allegation of a quasi-factual nature referenced by

the government in its pleadings is that Ms. Chin and Ms. Thomas should

have known from the improbable names of some of the “patients” whose

addresses they were presumably checking (which included celebrities, star

athletes, and fictional characters), that no medical practitioner had issued a

valid prescription authorizing the dispensing of the drugs.3

      Assuming, as the court must in considering the motions to dismiss,

that Ms. Chin and Ms. Thomas knew or should have known that at least some

of the shipping labels were made out in the names of fictitious patients, does

that knowledge, combined with the allegation that they worked in the



      3 Additionally, the government makes the tautological argument that
Ms. Chin and Ms. Thomas were dispensing drugs, whatever role they played
in the distribution process, “because the indictment clearly alleges that
[they] dispensed drugs.” Gov’t Opp’n at 7 (Dkt #381).

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packing room checking orders, fairly allege the dispensing of drugs under the

FFDCA? The starting point of an answer is in the plain language of the

statute. Richardson v. United States, 526 U.S. 813, 818 (1999). Where, as

here, a word of common understanding (“dispensing”) is given no further

definition by Congress, it is to receive its meaning in common parlance

tempered by the “commonsense concession that meaning can only be

ascribed to statutory language if that language is taken in context.” Riva v.

Massachusetts, 61 F.3d 1003, 1007 (1st Cir. 1995).4 The context here, of

course, is medical pharmacology.          In the world of pharmacology, a

pharmacist engages in the act of dispensing when she “fill[s] a medical

prescription.” Stedman’s Medical Dictionary (28th ed. 2014). In other

words, a pharmacist dispenses a drug when she acts in her role as a licensed

professional authorized to fill (put together) a medical prescription for

delivery to a patient. Ms. Chin and Ms. Thomas are not alleged to have

engaged in any conduct meeting this definition.

      While not perfectly analogous, Justice Cordy, writing for a unanimous

Supreme Judicial Court, made much the same point in explaining why a


      4  The applicability of this rule of statutory construction is buttressed
by the fact that Congress took care in 21 U.S.C. § 321(a)-(rr) to define dozens
of words, some of quite ordinary usage like “food” and “drug,” without feeling
the need to give a special definition to the word “dispense.”

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physician writing illicit prescriptions would be guilty of distributing unlawful

substances, but not guilty of the separate crime of unlawfully dispensing

them under state law.

      With these points in mind, several conclusions result. First,
      “dispensing” is overwhelmingly the act of a physician acting in
      an authorized manner. Pursuant to our long-standing
      interpretation of the structure of the Act, a physician who
      “dispenses” is generally exempted from prosecution under the
      drug statutes because the conduct is authorized. Indeed, the
      definition of “dispense” makes it difficult, although not
      impossible, to find space for illegality in the conduct. In contrast,
      a physician who ceases to act as a physician by transforming his
      office into the equivalent of a street corner or darkened alley is
      not exempted. The conduct involved bears no resemblance to the
      practice of medicine. Rather, the physician has devolved into a
      “pusher.” See United States v. Moore, 423 U.S. 122, 143 (1975)
      (“In practical effect, [a physician issuing invalid prescriptions]
      acted as a large-scale ‘pusher’ — not as a physician”). Pushers
      commit the crime of “distribution.” Indeed, it is impossible to
      conceive how a drug dealer could ever “dispense” a controlled
      substance. Moreover, but for a medical degree, there is nothing
      to distinguish the person who deals drugs from a medical office
      from one who does so from the street. Therefore, the physician
      who forfeits his exemption from prosecution by becoming a drug
      dealer should be prosecuted for what he is, an unlawful
      distributer.

Commonwealth v. Brown, 456 Mass. 708, 724 (2010) (footnote and some

internal citations omitted).

      In contrast to the FFDCA, the Federal Controlled Substances Act

(FCSA), defines “dispense” broadly to mean “to deliver a controlled

substance to an ultimate user or research subject by, or pursuant to the


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lawful order of, a practitioner, including the prescribing and administering

of a controlled substance and the packaging, labeling or compounding

necessary to prepare the substance for such delivery.” 21 U.S.C. § 802(10).

This expansive definition, which includes packaging and labeling in addition

to compounding, might describe defendants’ conduct, but Ms. Chin and Ms.

Thomas are not charged under the FCSA for the simple reason that neither

betamethasone nor triamcinolone (the drugs contained in the packages they

processed) are scheduled as controlled substances.

     Defendants argue that if the court perceives ambiguity in the unlawful

dispensing provisions of the FFDCA, it should determine whether the statute

is unconstitutionally vague as applied to the conduct attributed to Ms. Chin

and Ms. Thomas.5 The void for vagueness doctrine has strong roots in

considerations of fundamental due process and public policy.

     Vague laws offend several important values. First, because we
     assume that man is free to steer between lawful and unlawful
     conduct, we insist that laws give the person of ordinary
     intelligence a reasonable opportunity to know what is prohibited,
     so that he may act accordingly. Vague laws may trap the innocent
     by not providing fair warnings. Second, if arbitrary and
     discriminatory enforcement is to be prevented, laws must
     provide explicit standards for those who apply them. A vague law
     impermissibly delegates basic policy matters to policemen,

     5  The government (as best I can determine) is correct in stating that
no court has upheld a generic vagueness challenge to the dispensing
provision or other prohibitions of the FFDCA. See Govt’s Opp’n at 8 (Dkt
#381).
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      judges, and juries for resolution on an ad hoc and subjective
      basis, with the attendant dangers of arbitrary and discriminatory
      applications.

Grayned v. City of Rockford, 408 U.S. 104, 108-109 (1972). The danger, as

the Court warned in Grayned, is that overly aggressive and unbounded

readings of statutes can produce distorted results, such as a fish being

transformed into a documentary instrument, Yates v. United States, 135 S.

Ct. 1074, 1087 (2015) (plurality opinion), or “kitchen cupboard” chemical

irritants into chemical weapons banned under international law, Bond v.

United States, 134 S. Ct. 2077, 2093 (2014), or a constituent courtesy into a

corrupt official act, McDonnell v. United States, 136 S. Ct. 2355, 2372-2373

(2016).

      Here the issue, however, is not ambiguity. The statute as written

clearly punishes pharmacists who fill or take part in the filling of invalid

prescriptions placed into interstate commerce with the intent to defraud or

mislead the government.      What the FFDCA does not reach is conduct

incidental to the distribution of a prescribed drug (in contrast to the FCSA),

such as “checking a package,” or taking it to the extreme, picking it up for

delivery. Returning to basics, the issue in this case is one of fair notice.

Would a reasonable person, even a reasonable pharmacist, understand from

the indictment that by matching orders to packages prior to their being


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shipped, she was criminally liable for participating in the filling of a

prescription that she had never approved (or is even alleged to have seen),

and as a result was guilty of dispensing (misbranding) the prescribed drug

with the intent to defraud? The answer, as best as I can determine, is that

she would not. Absent allegations of conduct amounting to fair notice of a

crime under the FFDCA, the indictment fails.6

                                 ORDER

     For the foregoing reasons, the motions to dismiss Counts 104-107, and

108-109 as they relate to Ms. Chin and Ms. Thomas are ALLOWED.

                            SO ORDERED.
                            /s/ Richard G. Stearns
                            __________________________
                            UNITED STATES DISTRICT JUDGE




     6 To be clear, the court is not saying that the defendants may not have

violated some law, just not the law the government has chosen to invoke.
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